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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                    Plaintiffs,
       v.
                                                     Civil Action No. 1:18-cv-02340-RJL
 CVS HEALTH CORPORATION; and
 AETNA INC.,                                         Hon. Richard J. Leon

                    Defendants.


               CVS HEALTH CORPORATION’S NOTICE OF OPPOSITION
                     TO MOTIONS FOR LEAVE TO INTERVENE

       CVS Health Corporation hereby provides notice of its opposition to the motions for leave

to intervene by (1) Pharmacists United for Truth and Transparency (“PUTT”) and Pharmacists

Society of the State of New York, Inc. (“PSSNY”) and (2) Consumer Action and U.S. PIRG.

CVS intends to file a supporting memorandum later today.


Dated: December 17, 2018                           Respectfully submitted,

                                                   /s/ Craig D. Singer
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                                  Counsel for CVS Health Corporation




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                               CERTIFICATE OF SERVICE

       I certify that on December 17, 2018, I caused a copy of the foregoing document to be served

electronically on all counsel of record via operation of the Court’s CM/ECF system.

              By:     /s/ Craig D. Singer           _______
                      Craig D. Singer
